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                         EXHIBIT A
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                                                     Weeks
                                                              Plaintiff's   Defendant's
                Matter                    Time       before                               Court Order
                                                               Request       Request
                                                      trial
Trial date (jury) Estimated length: 5    8:30 a.m.
                                                              25-Apr-23      25-Apr-23
days                                    (Tuesdays)

[Court trial:] File Findings of Fact
and Conclusions of Law and                            −1      18-Apr-23      18-Apr-23
Summaries of Direct Testimony

Final Pretrial Conference; Hearing on
Motions in Limine; File Agreed Upon
Set of Jury Instructions and Verdict
                                        11:00 a.m.
Forms and Joint Statement re                          −2      11-Apr-23      11-Apr-23
                                        (Mondays)
Disputed Instructions and Verdict
Forms; File Proposed Voir Dire Qs
and Agreed−to Statement of Case
Lodge Pretrial Conf. Order; File
Memo of Contentions of Fact and
                                                      −3       4-Apr-23       4-Apr-23
Law; Exhibit List; Witness List;
Status Report re Settlement
Last day for hand−serving Motions in
                                                      −6       6-Mar-23      6-Mar-23
Limine
                                         1:30 p.m.
Last day for hearing motions                          −7      27-Feb-23      27-Feb-23
                                        (Mondays)
Last day for hand−serving motions
and filing (other than Motions in                     −11      6-Feb-23      6-Feb-23
Limine).

Non−expert Discovery cut−off                          −15      8-Aug-22      8-Aug-22

Expert discovery cut−off                                      13-Feb-23      13-Feb-23

Rebuttal Expert Witness Disclosure                            12-Dec-22      12-Dec-22


Opening Expert Witness Disclosure
                                                               7-Nov-22      7-Nov-22
[See F.R.Civ.P. 26(a)(2)]
Last day to conduct Settlement
Conference
Last day to amend pleadings or add
parties
